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                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                     PORTLAND DIVISION


 IN RE NIKE, INC. SECURITIES                    Case No. 3:24-cv-00974-AN
 LITIGATION

                                                   DECLARATION OF JESSICA
                                                   VALENZUELA IN SUPPORT OF
                                                   DEFENDANTS’ MOTION TO
                                                   DISMISS SECOND AMENDED
                                                   CONSOLIDATED CLASS ACTION
                                                   COMPLAINT




DECLARATION OF JESSICA VALENZUELA IN SUPPORT OF DEFENDANTS’ MOTION
TO DISMISS SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
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I, Jessica Valenzuela, declare and state as follows:

       1.      I am a partner at Gibson, Dunn & Crutcher LLP, and I am one of the attorneys

representing Defendants Nike, Inc. (“NIKE” or the “Company”), John J. Donahoe II, Matthew

Friend, Mark G. Parker, Heidi L. O’Neill, and Andrew Campion (collectively, “Defendants”). I

am over eighteen years of age. I am competent to testify about the matters set forth herein and

make this declaration based on my personal knowledge. I submit this Declaration in support of

Defendants’ Motion to Dismiss Second Amended Consolidated Class Action Complaint.

       2.      Attached as Exhibit 1 is a true and correct copy of a press release titled “NIKE,

Inc. Announces New Consumer Direct Offense: A Faster Pipeline to Serve Consumers Personally,

At Scale,” dated June 15, 2017. Exhibit 1 is quoted and discussed in paragraphs 84–85 of the

Second Amended Consolidated Class Action Complaint (“SAC”). 1

       3.      Attached as Exhibit 2 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript for the fourth quarter of fiscal year 2017, dated June 29, 2017. Exhibit

2 is publicly available at https://investors.nike.com/investors/news-events-and-reports/.

       4.      Attached as Exhibit 3 is a true and correct copy of NIKE’s press release filed on

Form 8-K with the United States Securities and Exchange Commission (“SEC”) on June 27, 2019,

titled “NIKE, Inc. Reports Fiscal 2019 Fourth Quarter and Full Year Results.” Exhibit 3 is publicly

available at https://www.sec.gov/edgar/search/. The information in Exhibit 3 is discussed in

paragraphs 78–81 of the SAC.




1
  For the Court’s convenience, Defendants have highlighted the relevant portions of the Exhibits.
Specifically, the statements alleged to be false and misleading in the SAC are highlighted in red;
other portions of the Exhibit in which either Plaintiffs or Defendants rely to provide further context
for the challenged misstatements are highlighted in yellow.
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       5.      Attached as Exhibit 4 is a true and correct copy of NIKE’s press release filed on

Form 8-K with the SEC on June 25, 2020, titled “NIKE, Inc. Reports Fiscal 2020 Fourth Quarter

and Full Year Results.” Exhibit 4 is publicly available at https://www.sec.gov/edgar/search/. The

information in Exhibit 4 is discussed in paragraphs 78–81, 86, and 710 of the SAC.

       6.      Attached as Exhibit 5 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript for the fourth quarter of fiscal year 2020, dated June 25, 2020. Exhibit

5 is publicly available at https://investors.nike.com/investors/news-events-and-reports/. Exhibit 5

is quoted and discussed in paragraphs 5, 94–99, 119, 122, 128, 136, and 141 of the SAC.

       7.        Attached as Exhibit 6 is a true and correct copy of excerpts of NIKE’s Annual

Report on Form 10-K, filed with the SEC on July 24, 2020. Exhibit 6 is publicly available at

https://www.sec.gov/edgar/search/.

       8.      Attached as Exhibit 7 is a true and correct copy of NIKE’s press release filed on

Form 8-K with the SEC on June 24, 2021, titled “NIKE, Inc. Reports Fiscal 2021 Fourth Quarter

and Full Year Results.” Exhibit 7 is publicly available at https://www.sec.gov/edgar/search/.

Exhibit 7 is quoted and discussed in paragraphs 6 and 448–49 of the SAC.

       9.        Attached as Exhibit 8 is a true and correct copy of excerpts of NIKE’s Annual

Report on Form 10-K, filed with the SEC on July 20, 2021. Exhibit 8 is publicly available at

https://www.sec.gov/edgar/search/. Exhibit 8 is quoted and discussed in paragraphs 103 and 453–

60 of the SAC.

       10.       Attached as Exhibit 9 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript for the first quarter of fiscal year 2022, dated September 23, 2021.

Exhibit 9 is publicly available at https://investors.nike.com/investors/news-events-and-reports/.

Exhibit 9 is quoted and discussed in paragraphs 113, 391, 461–68, 713, 750, and 754 of the SAC.

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       11.     Attached as Exhibit 10 is a true and correct copy of an article published by

Women’s Wear Daily on May 16, 2022, titled “Andy Campion Offers a Peek Behind the Curtain.”

Exhibit 10 is publicly available at https://wwd.com/business-news/business-features/supply-

chain-guru-andy-campion-offers-a-peek-behind-the-curtain-1235178636/. Exhibit 10 is quoted

and discussed in paragraphs 113, 391, and 510–11 of the SAC.

       12.     Attached as Exhibit 11 is a true and correct copy of NIKE’s press release filed on

Form 8-K with the SEC on June 27, 2022, titled “NIKE, Inc. Reports Fiscal 2022 Fourth Quarter

and Full Year Results.” Exhibit 11 is publicly available at https://www.sec.gov/edgar/search/.

Exhibit 11 is quoted and discussed in paragraphs 130 and 512–13 of the SAC.

       13. Attached as Exhibit 12 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript for the fourth quarter of fiscal year 2022, dated June 27, 2022. Exhibit

12 is publicly available at https://investors.nike.com/investors/news-events-and-reports/. Exhibit

12 is quoted and discussed in paragraphs 99, 130, 136, 514–24, 715, and 723 of the SAC.

       14.     Attached as Exhibit 13 is a true and correct copy of excerpts of NIKE’s Annual

Report on Form 10-K, filed with the SEC on July 21, 2022. Exhibit 13 is publicly available

athttps://www.sec.gov/edgar/search/. Exhibit 13 is quoted and discussed in paragraphs 103 and

525–32 of the SAC.

       15.     Attached as Exhibit 14 is a true and correct copy of excerpts of NIKE’s Quarterly

Report on Form 10-Q, filed with the SEC on April 6, 2023. Exhibit 14 is publicly available at

https://www.sec.gov/edgar/search/. Exhibit 14 is discussed in paragraphs 569–70 of the SAC.

       16.     Attached as Exhibit 15 is a true and correct copy of NIKE’s press release filed on

Form 8-K with the SEC on June 29, 2023, titled “NIKE, Inc. Reports Fiscal 2023 Fourth Quarter




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and Full Year Results.” Exhibit 15 is publicly available at https://www.sec.gov/edgar/search/.

Exhibit 15 is quoted and discussed in paragraphs 571–72 of the SAC.

       17.     Attached as Exhibit 16 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript for the fourth quarter of fiscal year 2023, dated June 29, 2023. Exhibit

16 is publicly available at https://investors.nike.com/investors/news-events-and-reports/. Exhibit

16 is quoted and discussed in paragraphs 26, 345, 390, 392, 573–81, 716, 723, and 751 of the SAC.

       18.     Attached as Exhibit 17 is a true and correct copy of excerpts of NIKE’s Annual

Report on Form 10-K, filed with the SEC on July 20, 2023. Exhibit 17 is publicly available at

https://www.sec.gov/edgar/search/. Exhibit 17 is quoted and/or discussed in paragraphs 83, 103,

119, and 582–89 of the SAC.

       19.     Attached as Exhibit 18 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript for the second quarter of fiscal year 2024, dated December 21, 2023.

Exhibit 18 is publicly available at https://investors.nike.com/investors/news-events-and-reports/.

Exhibit 18 is quoted and discussed in paragraphs 19, 30, 130, 273, 297, 304, 397–403, 596–99,

613, 620–31, 761, and 767 of the SAC.

       20.     Attached as Exhibit 19 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript for the third quarter of fiscal year 2024, dated March 21, 2024. Exhibit

19 is publicly available at https://investors.nike.com/investors/news-events-and-reports/. Exhibit

19 is quoted and discussed in paragraphs 16, 19, 22, 25, 32, 275, 297, 304, 323, 325, 352–53, 368,

404–09, 600–02, 620, 632–42, 717, and 766–69 of the SAC.

       21.     Attached as Exhibit 20 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript of the fourth quarter of fiscal year 2024, dated June 27, 2024. Exhibit

20 is publicly available at https://investors.nike.com/investors/news-events-and-reports/. Exhibit

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20 is quoted and discussed in paragraphs 19, 22, 25, 34, 277, 301, 306, 308, 324–25, 355, 357,

410–16, 620, 643–57, and 769 of the SAC.

       22.       Attached as Exhibit 21 is a true and correct copy of excerpts of NIKE’s Annual

Report on Form 10-K, filed with the SEC on July 25, 2024. Exhibit 21 is publicly available at

https://www.sec.gov/edgar/search/. Exhibit 21 is quoted and discussed in paragraphs 83 and 603–

10 of the SAC.

       23.     Attached as Exhibit 22 is a true and correct copy of NIKE’s Earnings Release

Conference Call Transcript for the first quarter of fiscal year 2025, dated October 1, 2024. Exhibit

22 is publicly available at https://investors.nike.com/investors/news-events-and-reports/. Exhibit

22 is quoted and discussed in paragraphs 16, 19, 38, 135, 303, 306–08, 326, 356–57, 397, 417–22,

613, 620, 658–67, 762, and 768 of the SAC.

       24.       Attached as Exhibit 23 is a compilation of true and correct copies of Form 4s filed

by Mr. Donahoe with the SEC between September 1, 2017 and October 1, 2024. Each of the Form

4s in this compilation are publicly available at https://www.sec.gov/edgar/search/.             The

information in Exhibit 23 is discussed in paragraphs 781–82 of the SAC.

       25.     Attached as Exhibit 24 is a compilation of true and correct copies of Form 4s filed

by Mr. Friend with the SEC between September 1, 2017 and October 1, 2024. Each of the Form

4s in this compilation are publicly available at https://www.sec.gov/edgar/search/.             The

information in Exhibit 24 is discussed in paragraphs 781 and 783–85 of the SAC.

       26.     Attached as Exhibit 25 is a compilation of true and correct copies of Form 4s filed

by Mr. Parker with the SEC between September 1, 2017 and October 1, 2024. Each of the Form

4 in this compilation are publicly available at https://www.sec.gov/edgar/search/. The information

in Exhibit 25 is discussed in paragraphs 781 and 786–87 of the SAC.

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       I hereby declare that the above statement is true and correct to the best of my knowledge

and belief and that I understand it is made for use as evidence in court and subject to penalty for

perjury.

DATED: May 12, 2025

                                                             _/s/ Jessica Valenzuela_______
                                                             Jessica Valenzuela




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